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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

Case: 2:20-cr-20318

Judge: Murphy, Stephen J.

MJ: Patti, Anthony P.

oo Filed: 07-29-2020 At 01:56 PM
Plaintiff, INDI USA V. SEALED MATTER (DA)

United States of America,

Vv. Violations:

21 U.S.C. §§ 846, 841(a)(1), and

D-1 Ricardo Zamora, 841 (b)(1)(A)

a.k.a. Ricardo Zamora-Lopez,
a.k.a. Ricardo Zamore-Lopez,

 

Defendant.
/
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

21 U.S.C. §§ 846, 841 - Conspiracy to Possess with the Intent to Distribute
Controlled Substances (Cocaine)

D-1 Ricardo Zamora,
a.k.a. Ricardo Zamora-Lopez,
a.k.a. Ricardo Zamore-Lopez,

1. From on or about March 1, 2016, to on or about August 1, 2017, in

the Eastern District of Michigan, and elsewhere, defendant, Ricardo Zamora,
knowingly and intentionally conspired and agreed with other individuals, both
known and unknown to the Grand Jury, to possess with the intent to distribute 5

kilograms or more of Cocaine, a Schedule II controlled substance.

 
 

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All in violation of Title 21, United States Code, Sections 846, 841(a)(1), and
(b)(1)(A).

2. Before Defendant committed the instant offense charged in this count,
the defendant had a final conviction for a serious drug felony, namely, a conviction
for Delivery and Manufacture of a Controlled Substance (Cocaine) 1000 Grams or
More, in Case No. XX-XXXXXXX-02-FC, in the 3" Judicial Circuit, Wayne County,
in the State of Michigan, for which he served more than 12 months of
imprisonment and for which he was released from serving any term of
imprisonment related to that offense within 15 years of the commencement of the
instant offense.

FORFEITURE ALLEGATION

3. Pursuant to Fed. R. Cr. P. 32.2(a), the government hereby provides
notice to the defendants of its intention to seek forfeiture of all proceeds, direct or
indirect, or property traceable thereto, all property that facilitated the commission
of the violations alleged, or property traceable thereto, and all property involved in,
or property traceable thereto, of the violations set for in this Indictment.

4. Substitute Assets: If the property described above as being subject to
forfeiture, as a result of any act or omission of Defendant:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third party;

 
 

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c. Has been placed beyond the jurisdiction of the Court;
d. Has been substantially diminished in value; or

e. Has been commingled with other property that cannot be divided
without difficulty;

the United States of America shall be entitled to forfeiture of substitute property
pursuant to Title 21, United States Code, Section 853(p), and Title 28, United

States Code, Section 2461(c).

THIS IS A TRUE BILL.

s/ Grand Jury Foreperson
GRAND JURY FOREPERSON

 

MATTHEW SCHNEIDER
United States Attorney

JULIE BECK
Chief, Drug Task Force Unit

s/Robert J. White
ROBERT J. WHITE
Assistant United States Attorney

 

Dated: July 29, 2020
   

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United States District Court Criminal Case Cover Judge: Murphy, Stephen J.
Eastern District of Michigan MJ: Patti, Anthony P.
Filed: 07-29-2020 At 01:56 PM

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurate INDI USA V. SEALED MATTER (DA)

   

_Companion Case Information - | Companion Case Number:

 

 

This may be a companion case based on LCrR 57.10(b)(4)': 17-cr-20531-BAF

 

 

 

XYes No AUSA's Initials: qi Ll¥V
p—tl

 

 

Case Title: USA v. Ricardo Zamora
County where offense occurred: Wayne
Offense Type: Felony

Indictment -- no prior complaint

 

   

 

 

 

Superseding to Case No: Judge:
Reason:
Defendant Name Charges Prior Complaint (if applicable)

 

 

Piease take notice that the below listed Assistant United States Attorney is the attorney of record for

the above captioned case
July 29, 2020 TAM be
Date Robert J.fVhite ~~"
Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, MI 48226
Robert.White@usdoj.gov

(313) 226-9620
Bar #: IL 6304282

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same or related parties are
present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases even though one of them may have already
been terminated.

  

 
